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 EXHIBIT 51
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     MCNEELY,         HARE      & WAR       LLP
     INTELLECTUAL          PROPERTY         LAW




                                                                               Renita S. Rathinam
                                                                          Rathinam@miplaw.com
                                                                       Direct Dial: 1.202.253.4903

                                              May 30, 2023


VIA EMAIL
Matthew J. Hawkinson
mhawkinson@hycounsel.com
Hawkinson Yang
1801 Century Park East, Ste. 2400
Los Angeles, CA 90067

       RE: Invitation for Discussion of Mutually Beneficial Business Solution (FRE 408)


Dear Mr. Hawkinson:
        I write further to our correspondence of February 15 and May 4, 2023 concerning U.S. Patent
Nos. 7,992,773, 8,424,752, 8,651,369, and 8,936,190 owned by Symbology Innovations, LLC
(hereinafter collectively referred to as “the Symbology patents”). We appreciate you resending
Discord’s response of April 12th. Preliminarily, as you may well know, patents duly issued by the
USPTO are presumed valid. We note that the Symbology patents, having been so issued, have been
asserted multiple times and indeed remain valid and enforceable to date. We also note that appropriate
business solutions have been reached with numerous parties, including Fortune 500 companies and
smaller entities, alike.
        As for your particular assertions of invalidity and unpatentability under one or more of 35 U.S.C.
§§101, 102, and/or 103, we respectfully disagree. The analyses set forth in your April 12 letter appear to
be flawed and unsubstantiated. With respect to your 102 and/or 103 assertions based on Denso Wave,
Chang and Yach references, we again refer you to our letter of February 15 th and accompanying
preliminary claim chart exemplifying Discord’s potential infringement. The Symbology patents are
directed to the inventive subject matter as claimed in each of said patents. Subject to basic principles of
claim interpretation, the references you mention have essentially no bearing on the Symbology patent
claims. None of these references alone or in combination is sufficient to arrive at Claim 1 of the ‘752
patent, let alone the remaining inventions subject of each of the claims of the referenced Symbology
patents.
        As for Discord’s patent ineligibility assertions, we likewise disagree. Again, each of the
Symbology patents has been duly issued by the USPTO and remains valid and enforceable. The Alice
analysis as set forth in your letter appears to be grounded in a truncated view of Claim 1 of the ‘752
patent and does not account for each of the other claims of the Symbology patents.



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M. Hawkinson
May 30, 2023
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        We find your current invalidity/unpatentability positioning to be without merit and such
positions can only be established through an adjudicative process, if that is your client’s desired route.
Accordingly, Symbology does not consider this matter resolved but does continue to remain willing to
discuss resolution scenarios with Discord. This includes by way of licensing and/or other appropriate
business solutions. Please let us know within 21 days of receipt of this letter whether Discord wishes to
discuss further, or alternatively agrees to discontinue the activities identified in our February 15 th letter.


                                                                Sincerely,




                                                                Renita S. Rathinam




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